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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                       Martinsburg


 WILLIAM M. BULGER, JR.,
 Administrator of the Estate of
 James Bulger,

                               Plaintiff

                 v.                                         Civil Action No. 3:20-CV-206
                                                            Judge Bailey
 HUGH HURWITZ, J.A. KELLER,
 ANGELA DUNBAR, R.C. CHEATHAM,
 CHARLES LOCKETT, JOSEPH COAKLEY,
 AMY RUIZ, JEFFREY SMITH, ALICE
 PISANESCHI, JEREMY SHIRK, ANTHONY
 MORI, BRANDON BOLEDOVIC, JOHNIJANE
 DOES 2 AND 15-30, and UNITED STATES
 OF AMERICA,

                               Defendants.


                         ORDER GRANTING MOTIONS TO DISMISS

          Pending before this Court are the United States of America’s Motion to Dismiss

 [Doc. 48], the Individual Defendants’ Motion to Dismiss Plaintiff’s Claims Against Them

 [Doc. 49], and Defendants’ Renewed Motion to Stay Discovery [Doc. 51]. All motions have

 been fully briefed and are ripe for decision.

                                      Factual Allegations

          For decades, Decedent was the leader of Boston’s “Winter Hill Gang.” In that role

 —   and according to various media reports, books, films, television programs, and courtroom

 testimony   —   Decedent regularly engaged in “drug dealing, extortion, bookmaking, [and]

 trafficking weapons,” and was responsible for at least 19 murders. At the same time,

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 Decedent also purportedly worked as an FBI informant, and regularly provided the

 Government with information regarding rival criminal outfits, including the “Boston Mafia.”



        In 1994, Decedent was indicted on racketeering and other federal charges, and fled

 the Boston area. After evading arrest for more than 16 years, and becoming one of the

 FBI’s “Most Wanted” fugitives, Decedent was finally arrested and returned to Boston in

 2011. At his subsequent trial which was subject to intense media coverage witnesses
                                     —                                                —




 claimed that Decedent was involved in or responsible for multiple murders; that he was,

 in fact, a longtime FBI informant and “snitch;” and that he engaged in pedophilia. In

 November 2013, a jury convicted Decedent on dozens of counts, including racketeering,

 extortion, and conspiracy, and found that Decedent directed or participated in 11 murders.

 Shortly thereafter, the court ordered Decedent to serve two consecutive life sentences         —




 plus another five years   —   in federal prison.

       At some point in 2013, Decedent was transferred to the Metropolitan Detention

 Center (“MDC”) in Brooklyn, New York. During his time at MDC, Decedent was assigned

 to the Segregated Housing Unit (“SHU”) and effectively kept in solitary confinement. From

 there, Decedent was transferred to USP Tucson, in Arizona, where he spent additional

 time in the SHU and another inmate attacked Decedent and “stabbed him in the head.”

 Decedent was then transferred to USP Coleman II, in Florida, where              —   despite being

 confined to a wheelchair      —   he “had various disputes with staff regarding treatment for his

 medical conditions.”

        Finally, in October2018, Decedent was transferred to USP Hazelton —which plaintiff

 describes as a “violent,” “volatile,” and “understaffed” facility, with a “gang-run yard” and

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 a long history of inmate-on-inmate assaults. Upon his arrival at USP Hazelton, Decedent

 was placed in general population. “[W]ithin hours of [that] placement,” plaintiff alleges that

 inmates “believed” to be from New England, and sympathetic to the Boston Mafia, beat

 and killed Decedent.

        Plaintiff asserts that USP Hazelton was “not an appropriate placement” for Bulger

 and that he was “deliberately sent to his death” by officials at BOP. Based on these

 allegations, plaintiff’s second amended Complaint contains three counts. Count I alleges

 an Eighth Amendment Bivens action against a number of BOP employees. Count II

 alleges an Eighth Amendment failure to intervene action against all the individual

 defendants. Count Ill alleges a FTCA action against the United States for negligence.

        This Court will consider the Bivens claims and the FTCA claim separately.

                                  Plaintiff’s Bivens Claims

        In his Bivens claims, plaintiff sues three groups of BOP officials, whom the United

 States has identified through their positions (“Individual Defendants”): (1) three high-level

 agency officials: Acting Director Hugh J. Hurwitz, Southeast Regional Director J.A. Keller,

 and Mid-Atlantic Regional Director Angela Dunbar; (2) five officials at USP Coleman:

 Warden R.C. Cheatham, Warden Charles Lockett, Unit Manager Jeffrey Smith, Case

 Manager Amy Ruiz, and Correctional Counselor Alice Pisaneschi; and (3) four officials at

 USP Hazelton: Warden Joseph Coakley, Unit Manager Anthony Mori, Case Manager

 Jeremy Shirk, and Correctional Counselor Brandon Boledovic. Specifically, plaintiff asserts

 that Acting Director Hurwitz, Regional Directors Keller and Dunbar, and Wardens

 Cheatham, Lockett, and Coakley “w[ere] or should have been apprised and or consulted



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 regarding the decision making regarding [Bulger’s] placementwithin the Bureau of Prisons

 and   .   .   .   did or should have made the ultimate decision as to his placement[,]” and that

 Case Managers Ruiz and Shirk, Unit Managers Smith and Mori, and Correctional

 Counselors Pisaneschi and Boledovic were “responsible for compiling, reviewing, and

 analyzing certain designated reports and computer data relating to James Bulger in

 consultation with other defendants at USP Hazelton in order to properly assess him for

 placement and/or transfer.”

               Plaintiff asserts two Eighth Amendment claims against the Individual Defendants

 under Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S.

 388 (1971). The first alleges failure to protect. Plaintiff claims that the defendants at USP

 Coleman II caused Bulger’s transfer despite knowing of the likelihood that he would be

 harmed by other inmates and that the defendants at USP Hazelton accepted Bulger into

 custody without protest and exposed him to other inmates despite knowing of the likelihood

 of an attack. Plaintiff further alleges that “[a]ll other Individual Defendants,” including

 Acting Director Hurwitz and Regional Directors Keller and Dunbar, “knowingly participated,

 directed, approved and/or acquiesced in the decisions to transfer James Bulger from USP

 Coleman II to USP Hazelton, and [as] such furthered the decisions which acted in such a

 way to result in exposing James Bulger to the inmate(s) who attacked and killed [him.]”

 Plaintiff’s second claim alleges that all the Individual Defendants “knew or should have

 known” of the risks Bulger faced at USP Hazelton, yet failed to intervene to avert his death.

               This Court finds that the failure to protect and failure to intervene claims are not

 cognizable under Bivens. As noted by the Sixth Circuit:

               Between 1971 and 1980 in a trio of decisions, the Supreme Court recognized

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       an implied cause of action by individuals who sued federal officers for

       violations of their constitutional rights. Carison v. Green, 446 U.s. 14

       (1980); Davis v. Passman, 442 U.S. 228 (1979); Bivens v. Six Unknown

       Fed. Narcotics Agents, 403 U.S. 388 (1971). The Court reasoned that

       sometimes individual-rights violations could be redressed only by damages,

       and it had the power to create such actions unless Congress limited them.

       Bivens, 403 U.S. at 397.

              Subsequent developments leave Callahan with a forbidding hill to

       climb. What started out as a presumption in favor of implied rights of action

       has become a firm presumption against them. The Supreme Court has not

       recognized a new Bivens action in the 40 years since Carlson. And it has

       repeatedly declined invitations, many just like Callahan’s, to create such

       actions. Ziglar v. Abbasi,   —   U.S.       ,   137 5. Ct. 1843, 1857 (2017)

       (collecting eight examples). Over the same period of time, it has renounced

       the method of Bivens, Davis, and Carison. When asked “who should

       decide” whether a cause of action exists for violations of the Constitution,

       “[t]he answer most often will be Congress.” Id. The Court has not just

       rejected the Bivens inclination that a private right of action exists when

       Congress is silent; it has adopted the opposite approach in statutory and

       constitutional cases. See Alexander v. Sandoval, 532 U.S. 275, 286—87

       (2001).

              The Court’s actions over the last four decades match its words. Most


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        telling of all, it has rejected extensions of Bivens to claims that involve

        constitutional rights that Bivens already reaches. Carlson, for example,

        authorized a Bivens action for an Eighth Amendment claim of deliberate

        indifference to an inmate’s medical needs. 446 U.S. at 16—18. But Minneci

        v. Pollard rejected a deliberate-indifference claim in the context of a privately

        operated prison, even if the Eighth Amendment otherwise applied there. 565

        U.S. 118, 121 (2012). Bivens itself involved a Fourth Amendment seizure.

        403 U.S. at 389—90. But just five months ago, Hernandez v. Mesa rejected

        an invitation to innovate a similar remedy for a Fourth Amendment claim

        arising from a cross-border shooting.      —   U.S.      ,   140 5. Ct. 735, 744,

        750 (2020).

 Callahan v. Fed. Bureau of Prisons, 965 F.3d 520, 523 (6th Cir. 2020).

        “The Court’s repeated reluctance to extend Bivens is not without good reason. A

 Bivens cause of action is implied without any express congressional authority whatsoever.

 This is hardly the preferred course. The Supreme Court has ‘recently and repeatedly said

 that a decision to create a private right of action is one better left to legislative judgment

 in the great majority of cases.’ Sosa v. Alvarez—Macham, 542 U.S. 692 (2004); see also

 Erie R~R. Co. v. Tompkins, 304 U.S. 64 (1938) (abandoning the idea of a substantive

 federal common law). The Court has therefore on multiple occasions declined to extend

 Bivens because ‘Congress is in a better position to decide whether or not the public

 interest would be served’ by the creation of ‘new substantive legal liability.’ Schweiker[v.

 Chilicky], 487 U.S. at 426—27 [(1988)] (internal quotation marks omitted); Bush [v.


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 Lucas], 462 U.S. at 390 [(1983)] (same).” Holly v. Scott, 434 F.3d 287, 289—290 (4th Cir.

 2006).

          In his dissent in Carlson, Justice Rehnquist stated:

          Bivens is a decision “by a closely divided court, unsupported by the

          confirmation of time,” and, as a result of its weak precedential and doctrinal

          foundation, it cannot be viewed as a check on “the living process of striking

          a wise balance between liberty and order as new cases come here for

          adjudication.” Cf. 336 U.S., at 89; B. & W. Taxicab Co. v. B. & Y. Taxicab

          Co., 276 U.S. 518, 532—533 (1928) (Holmes, J., dissenting); Hudgens v.

          NLRB, 424 U.S. 507 (1976), overruling Food Employees v. Logan Valley

          Plaza, 391 U.S. 308 (1968).

 446 U.S. at 32.

          In Tun-Cos v. Perrofte, the Fourth Circuit stated:

          In the almost 40 years since Carison, however, the Court has declined to

          countenance Bivens actions in any additional context. See Chappell v.

          Wallace, 462 U.S. 296, 297 (1983) (refusing to recognize a Bivens remedy

          where enlisted servicemen alleged that their officers discriminated against

          them based on race); Bush v. Lucas, 462 U.S. 367, 390 (1983) (refusing to

          recognize a Bivens remedy where a federal employee alleged that his

          supervisor violated his First Amendment rights); United States v. Stanley,

          483 U.S. 669,671—72(1987) (refusing to recognizeaBivensremedywhere

          a serviceman alleged that military officers violated his substantive due


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       process rights); Schweikerv. Chilicky, 487 U.S. 412, 414 (1988) (refusing

       to recognize a Bivens remedy for alleged violations of procedural due

       process by Social security officials); FDIC v. Meyer, 510 U.S. 471, 473—74

       (1994) (refusing to recognize a Bivens remedy where an employee alleged

       that he was wrongfully terminated by a federal agency in violation of due

       process); Corr. Servs. Corp. v. Malesko, 534 U.S. 61,63(2001) (refusing

       to recognize a Bivens remedy where a prisoner alleged that a private prison

       operator violated his Eighth Amendment rights); Wilkie [v. Robbins], 551

       U.S. at 541 [(2007)] (refusing to recognize a Bivens remedy where a

       landowner alleged that officials from the Bureau of Land Management

       violated the Due Process Clause); Minneci v. Pollard, 565 U.S. 118, 120

       (2012) (refusing to recognize a Bivens remedy where prisoners alleged that

       guards at a privately operated federal prison violated their Eighth

       Amendment rights).

              The Court’s most recent guidance on the continued availability of

       Bivens actions came in Ziglarv. Abbasi, where the Court expressed open

       hostility to expanding Bivens liability and noted that “in light of the changes

       to the Court’s general approach to recognizing implied damages remedies,

       it is possible that the analysis in the Court’s three Bivens cases might have

       been different if they were decided today.” 137 S.Ct. at 1856. The plaintiffs

       in Abbasi   —   aliens who were detained and held in the aftermath of the

       September11 terrorist attacks   —   brought an action against certain executive


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       officials and the wardens of the facility in which they were held, alleging

       Fourth and Fifth Amendment violations premised on the harsh conditions of

       their confinement and alleged abuse by prison guards. Id. at 1851—53. The

       Court      held   that   no   Bivens    remedy     was    available   for   the

       conditions-of-confinement claims and accordingly concluded that those

       claims should be dismissed. See Id. at 1858—63. And it remanded the

       prisoner abuse claims, holding that the lower court had erred in concluding

       that such claims arose in the same context as Carlson and had therefore

       failed to engage in the proper analysis. See Id. at 1865.1 The Abbasi Court

       explained its outlook by noting that when Bivens, Davis, and Carlson were

       decided, “the Court followed a different approach to recognizing implied

       causes of action than it follows now.” Id. at 1855. More expansively, it

       stated:

                 [I]n light of the changes to the Court’s general approach to

                 recognizing implied damages remedies, it is possible that the

                 analysis in the Court’s three Bivens cases might have been

                 different if they were decided today. To be sure, no

                 congressional enactment has disapproved of these decisions.

                 And it must be understood that this opinion is not intended to

                 cast doubt on the continued force, or even the necessity, of


       1  On remand, the District Court found that the prisoner abuse claims were
 likewise not cognizable Bivens claims. Turkmen v. Ashcroft, 2021 WL 4099495 (E.D.
 N.Y. Sept. 9, 2021).
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                Bivens in the search-and-seizure context in which it arose.

                Bivens does vindicate the Constitution by allowing some

                redress for injuries, and it provides instruction and guidance to

               federal law enforcement officers going forward. The settled

                law of Bivens in this common and recurrent sphere of law

                enforcement, and the undoubted reliance upon it as a fixed

                principle in the law, are powerful reasons to retain it in that

                sphere.

  922 F.3d 514, 521—22 (4th Cir. 2019), cert. denied, 140 S. Ct. 2565 (2020).

         In addition to Abbasi itself, the Fourth Circuit found that there is no Bivens action

 for retaliation for filing a grievance or complaining about circumstances. Earle v. Shreves,

  990 F.3d 774 (4th Cir. 2021). Even though this Court agrees with the above decisions, it

  is appropriate to conduct an independent inquiry because the special factors inquiry is

  context specific. In conducting that inquiry, it is clear that expanding the Bivens remedy

  is a “disfavored” judicial activity. Tun-Cos, 922 F.3d at 522.

         In conducting this inquiry, this Court will follow the steps outlined by Judge Flanagan

  in Mays:

         Recently, the United States Supreme Courtexplained that Congress is better

         positioned to extend Bivens liability to new contexts not previously

         recognized by the Court, and thus instructed federal district and appellate

         courts to conduct a rigorous analysis before authorizing a Bivens remedy in

         any new context. See Ziglarv. Abbasi, 137 S. Ct. 1843, 1856—57 (2017);


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        see also Correctional Servs. Corp. v. Malesko, 534            u.s.   61, 74 (2001);

        Tun-Cos      V.   Perrotte, 922 F.3d 514, 520—21 (4th Cir. 2019). The Court

        established the following framework governing judicial expansion of Bivens

        liability into new contexts. Ziglar, 137 S. Ct. at 1857—60; Tun-Cos, 922 F.3d

        at 522.

                  The first step requires determining whether the case involves a “new

        Bivens context” because it is “different in [any] meaningful way” from the

       three prior cases in which the Court has provided a Bivens remedy. Ziglar~

        137 S. Ct. at 1859. “A radical difference is not required.” See Tun-Cos, 922

        F.3d at 522. The Court, “without endeavoring to create an exhaustive list,”

        noted that a case might differ in a meaningful way based on:

                  the rank of the officers involved; the constitutional right at

                  issue; the generality or specificity of the official action; the

                  extent of judicial guidance as to how an officer should respond

                  to the problem or emergency to be confronted; the statutory or

                  other legal mandate underwhich the officerwas operating; the

                  risk of disruptive intrusion by the Judiciary into the functioning

                  of other branches; or the presence of potential special factors

                  that previous Bivens cases did not consider.

       Id. at 1859—60.

                  In the event the case involves a new context, the court analyzes

       whether “special factors counseling hesitation” in expanding Bivens are


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        present. Ziglar, 137 S. Ct. at 1857 (quoting Carlson, 446 U.S. at 18);

        Tun-Cos, 922 F.3d at 523. This inquiry “must concentrate on whether the

        Judiciary is well suited, absent congressional action or instruction, to

        consider and weigh the costs and benefits of allowing a damages action to

        proceed.” Ziglar, 137 S. Ct. at 1857—58.      A special factor counseling

        hesitation “must cause a court to hesitate before answering that question in

       the affirmative.” Id. at 1858.   Extending Bivens to a new context is a

       “disfavored judicial activity” where Congress is generally better suited to

       determine whether a new damages remedy should be authorized. ZigIar~

        137 S. Ct. at 1857.

              The Supreme Court has emphasized two special factors that counsel

       hesitation in extending Bivens to a new context: 1) whether an “alternative

       remedial structure is available” and 2) whether extending Bivens would

       violate separation-of-powers principles. Id. at 1857—58; see also Tun-Cos,

       922 F.3d at 525—27. Additional relevantspecial factors include, interalia, 1)

       “the burdens on Government employees who are sued personally, as well as

       the projected costs and consequences to the Government itself when the tort

       and monetary liability mechanisms of the legal system are used to bring

       about the proper formulation and implementation of public policies”; 2)

       whether Congress has previously enacted legislation in the area, “making it

       less likely that Congress would want the judiciary to interfere” 3) whether a

       damages remedy is necessary to deter future similar violations; 4) whether


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           the claim addresses broader policy questions delegated to an administrative

           agency; and 5) whether national security interests are at issue. Id. at

           1856—63 (citing Wilkiev. Robbins, 551 u.s. 537 (2007); Malesko, 534 U.S.

           at 73—74; FDIC v. Meyer, 510 U.S. 471 (1994); United States v. Stanley,

           483 U.s. 669 (1987); Chappellv. Wallace, 462 U.S. 296 (1983); and Bush

           v. Lucas, 462 U.5. 367 (1983)).

  2020 WL 5821841, at *11.
           In examining whether a claim is a new context, the “Court has made clear that, for

  a case to be ‘different in a meaningful way from [the three] previous Bivens cases,’ a

  radical difference is not required.” Tun-Cos, 922 F.3d at 523 (citing Abbasi, 137 S.Ct. at

  1859).

           The plaintiff’s claims regarding failure to protect and failure to intervene are clearly

  a new context. “The differences between [the Abbasi plaintiffs’ prisoner abuse claims] and

  the one in Carlson are perhaps small, at least in practical terms. Given this Court’s

  expressed caution about extending the Bivens remedy, however, the new-context inquiry

  is easily satisfied.   .   .   .“   Id. (emphasis in original) (citing Abbasi 137 S.Ct. at 1865).

           Although even a “modest extension” of Bivens still constitutes a new context,

  Abbasi, 137 S. Ct. at 1864, plaintiff seeks more than a modest extension of a previously

  recognized Bivens context. Plaintiff’s claims focus on the administration of prison housing

  and inmate placement—a factual context distinct from the three previously recognized

  contexts. These claims would thus require scrutiny of new categories of conduct and a

  “new category of defendants”—namely, BOP employees involved in transferring inmates


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  and managing the agency’s housing system. See Tun-Cos, 922 F.3d at 525 (quoting

  Abbasi, 137 S.Ct. at 1857). In addition, these claims intersect with the statutory scheme

  delegating authority over prison designation, transfer, and housing decisions to the BOP,

  see 18 U.S.C.   §~ 3621, 4001(b)(1), which was not at issue in Bivens, Davis, or Carlson.
  As such, plaintiff’s claims are likely to raise new special factors related to Congress’s

  activity in this area. Finally, plaintiff seeks to recover under a legal theory—failure to

  protect or intervene—that was not at issue in any of the Supreme Court’s three prior

  Bivens cases.

         Other courts have held that Eighth Amendment claims alleging either failure to

  protect or unfit conditions of confinement arise in a new context.        See Schwarz v~

  Meinberg, 761 F.App’x 732, 734 (9th Cir. 2019) (claim regarding cell conditions presented

  new context); Dudley v. United States, 2020 WL 532338, at *6 (N.D. Tex. Feb. 3, 2020)

  (claim forfailure to protect inmate from “abuse, threats, and harassmentfrom both officers

  and inmates, presents a new Bivens context”); Hoffman v. Preston, 2020 WL 58039, at
  *2 (E.D. Cal. Jan. 6, 2020) (“Plaintiff’s Eighth Amendment failure to protect claim is a new

  Bivens context.”). This Court has also found such claims to constitute a new context.

  Fortuna v. Hudgins, 5:21-CV-72 (N.D. W.Va. June 1, 2021) (Bailey, J.) (bunk

  assignment); Masias V. Hodges, 2021 WL 1558329(N.D. W.Va. Apr. 8,2021) (Bailey, J.)

  (excessive placement in special housing unit).

        The finding of a new context now requires this Courtto examine the “special factors”

  to determine whether to extend Bivens to cover the new context. Earle v. Shreves, 990

  F.3d 774 (4th Cir. 2021). “And in determining whether ‘special factors’ are present to


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  counsel hesitation in expanding Bivens, courts must consider ‘whetherthe Judiciary is well

  suited, absent congressional action or instruction, to consider and weigh the costs and

  benefits of allowing a damages action to proceed.’ Abbasi, 137 S.Ct. at 1857—58. If a

  factor exists that ‘cause[s] a court to hesitate before answering that question in the

  affirmative,’ then a Bivens remedy is unavailable. Id. at 1858. ‘In sum, if there are sound

  reasons to think Congress might doubt the efficacy or necessity of a damages remedy as

  part of the system for enforcing the law and correcting a wrong, then courts must refrain

  from creating the remedy in order to respect the role of Congress in determining the nature

  and extent of federal-court jurisdiction underArticle III.’ Id. (emphasis added).” Tun-Cos,

  922 F.3d at 523.

        Applying this standard, the Fourth Circuit has declined to authorize a new Bivens

  remedy on every occasion that it has directly addressed the issue since Abbasi was

  decided. See Annappareddy v. Pascale, 996 F.3d 120, 134, 138 (4th Cir. 2021) (no

  Fourth and Fifth Amendment claims based on manipulation of evidence during federal

  investigation and prosecution); Earle, 990 F.3d at 781 (no First Amendment claim for

  retaliatory disciplinary action against prisoner); Doe v. Meron, 929 F.3d 153, 170 (4th Cir.

  2019) (no First, Fourth, and Fifth Amendment claims arising in military context); Attkisson

  v. Holder, 925 F.3d 606, 622 (4th Cir. 2019) (no Fourth Amendment claims based on

  alleged FBI surveillance); Tun-Cos, 922 F.3d at 528 (no Fourth and Fifth Amendment

  claims in immigration context). See also Patton v. Kimble, 847 F.App’x 196 (4th Cir.

  2021) (affirming district court’s dismissal of First Amendment claim under Abbasiwithout

  discussion).


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          Here, multiple special factors counsel against creating a new Bivens remedy,

  including: (1) Congress’s grant of discretion to the BOP over prison-housing decisions and

  its silence with respect to creating an individual-capacity damages claim in the

  prison-housing context; (2) Congress’s recognition of the BOP’s Administrative Remedy

  Program (ARP) and its passage of the Federal Tort Claims Act (FTCA), which are

  alternative processes for redressing inmate claims related to housing; and (3) the sizable

  burden the government would face if this new category of prisoner litigation were

  authorized.

         Furthermore, Congress’s inaction and failure to provide a damages remedy,

  particularly where it has acted to enact sweeping reforms of prisoner litigation, suggest that

  an extension of a damages remedy for other types of mistreatment should not be judicially

  created. See Abbasi, 137 S. Ct. at 1865 (“[lIt seems clear that Congress had specific

  occasion to consider the matter of prisoner abuse and to consider the proper way to

  remedy those wrongs” and Congress’s declining to provide a “damages remedy against

  federal jailers   .   .   .   suggests [that] Congress chose not to extend the Carlson damages

  remedy to cases involving other types of prisoner mistreatment.”).

         In Mays, Judge Flanagan discussed that, “as separation-of-powers concerns,

  ‘courts are ill equipped to deal with the increasingly urgent problems of prison

  administration and reform            ....   Running a prison is an inordinately difficult undertaking that

  requires expertise, planning, and the commitment of resources, all of which are peculiarly

  within the province of the legislative and executive branches of government.’ Turner v~

  Safley, 482 U.S. 78, 84—85 (1987). In the context of new constitutional claims filed by


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  federal prisoners challenging prison policies, the Judiciary is ill suited, ‘absent

  congressional action or instruction, to consider and weigh the costs and benefits of

  allowing a damages action to proceed.’               Ziglar,   137 S. Ct.     at 1857—58.

  Separation-of-powers principles thus counsel strongly against recognizing a new Bivens

  remedy in the context of plaintiff’s claims challenging his termination from UNICOR,

  placement in administrative detention, and transfer to FCI-Gilmer. Id. at 1857 (‘When a

  party seeks to assert an implied cause of action under the Constitution itself

  separation-of-powers principles are or should be central to the analysis.’); Wetzel v.

  Edwards, 635 F.2d 283, 288 (4th Cir. 1980) (‘It is a rule grounded in necessity and

  common sense, as well as authority, that the maintenance of discipline in a prison is an

  executive function with which the judicial branch ordinarily will not interfere.’); see also

  Bistrian v. Levi, 912 F.3d 79, 94—96 (3d Cir. 2018) (providing similar special factors

  analysis in context of challenge to administrative detention and retaliation claims and

  noting that decisions ‘to place an inmate in more restrictive detention involve[] real-time

  and often difficult judgment calls about disciplining inmates, maintaining order, and

  promoting prison officials’ safety and security’ which ‘strongly counsels restraint’ in

  recognizing a new Bivens remedy for such claims).” 2020 WL 5821841, at *13.

        Congress has legislated extensively regarding the prison system but has never

  created the remedy that plaintiff now seeks from this Court. This counsels hesitation.

  When Congress has legislated extensively on a topic but declined to create a damages

  remedy, “the silence of Congress is relevant” and suggests an intent not to create such a

  remedy. See Abbasi, 137 S.Ct. at 1862. Congress’s decision to delegate authority to an


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  agency and insulate the agency’s decision-making from judicial review also “mak[es] it less

  likely that Congress would want the Judiciary to interfere” by authorizing a Bivens remedy.

  Id. at 1858.

         This case exists at the intersection of two areas of extensive congressional activity:

  prison housing and prisoner litigation. “One of the BOP’s congressionally mandated

  responsibilities is to determine where inmates are housed.” Wilborn v. Mansukhani, 795

  F.App’x 157, 161 (4th Cir. 2019). Title 18 U.S.C.        § 3621(b) grants the BOP broad authority
  to place inmates in “any available penal or correctional facility that meets minimum

  standards of health and habitability established by the Bureau                    .   .   .   that the Bureau

  determines to be appropriate and suitable[.]” See also Id.         § 4001(b)(1) (“The control and
  management of Federal penal and correctional institutions,            .   .   .   shall be vested in the

  Attorney General   .   .   .   .“).   Importantly, as part of the 2018 First Step Act, Congress

  expressly provided that “a designation of a place of imprisonment under this

  subsection is not reviewable by any court.” Id. (Emphasis added). This addition

  “recogniz[es] [the] discretionary authority of [the BOP] under § 3621(b) to make placement

  or transfer decisions[.]” Jiau v. Tews, 812 F.App’x 638, 639 (9th Cir. 2020) (citing

  Rodriguez v. Smith, 541 F.3d 1180, 1184—86 (9th Cir. 2008)). It is also consistent with

  the Supreme Court’s longstanding view that allowing inmates to challenge their designated

  facility under the Constitution would “involve the judiciary in issues and discretionary

  decisions that are not the business of federal judges.” Meachum v. Fano, 427 U.S. 215,

  228 (1976).




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        While Congress has been conspicuously vocal about preventing courts from

  interfering with BOP housing decisions, it has been conspicuously silent about creating a

  remedy for prisoners to obtain damages from individual officers.       In 1995, Congress

  passed the Prison Litigation Reform Act (“PLRA”), 42 U.S.C.   § I 997e, which aims to “limit
  litigation brought by prisoners,” Montcalm Pub. Corp. v. Commonwealth of Va., 199 F.3d

  168, 171 (4th Cir. 1999), and ‘remove the federal district courts from the business of

  supervising the day-to-day operation” of prisons. Cagle v. Hutto, 177 F.3d 253, 257 (4th

  Cir. 1999). As multiple courts have noted, “Congress paid close attention to inmate

  constitutional claims when it enacted the [PLRA] of 1995,” Callahan v. Fed. Bureau of

  Prisons, 965 F.3d 520, 524 (6th Cir. 2020), but did not create a “standalone damages

  remedy against federal jailers,” Id. (quoting Abbasi, 137 S. Ct. at 1865); see also Butler

  v. S. Porter, 999 F.3d 287, 294 (5th Cir. 2021) (making same observation and rejecting

  Bivens remedy). In fact, because the PLRA was passed fifteen years after Carlson, the

  Supreme Court has noted that the absence of a damages remedy in the statute arguably

  suggests that “Congress chose not to extend the Carlson damages remedy to cases

  involving other types of prisoner mistreatment.” Abbasi, 137 S. Ct. at 1865. Congress

  created this scheme despite full knowledge that violence may occur in prisons and

  transfers and other decisions about housing often involve safety concerns.

        Creating a Bivens remedy in this case would be in strong tension with Congress’s

  decisions to give the BOP discretion over inmate placement, prohibit courts from reviewing

  inmate placement, and omit an individual-capacity damages remedy from the PLRA.

  Through its frequent legislation in the areas of prison housing and prisoner litigation,


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  Congress had many opportunities to create a damages remedy for situations where a

  housing decision leads to injury. But it did not do so. Instead, it has repeatedly limited

  judicial authority to review BOP housing decisions and to entertain claims brought by

  prisoners. Viewed comprehensively, this legislative backdrop is more than enough to raise

  doubts about whether Congress would welcome a judicially created damages remedy for

  harms arising from prison-housing decisions. See Attkisson, 925 F.3d at 621 (denying

  Bivens remedy because “Congress has legislated extensively in the area of electronic

  surveillance and intrusions into electronic devices without authorizing damages for a Fourth

  Amendment violation”); Tun-Cos, 922 F.3d at 526 (rejecting Bivens remedy in immigration

  context because “Congress took steps to ensure that the protections it provided in the

  [Immigration and Nationality Act] would be exclusive of any additional judicial remedy” by

  limiting judicial review of immigration proceedings initiated by the Attorney General).

         Another special factor in this case is the existence of an “alternative remedial

  structure” for protecting a prisoner’s interest in avoiding unwanted housing placements.

  See Abbasi, 137 S.Ct. at 1858. First, the BOP has developed the detailed ARP, through

  which an inmate can seek equitable relief for issues related to “any aspect of his/her own

  confinement,” including housing. 28 C.F.R.   § 542.10. “The [ARP] process is substantial;
  it contains its own statutes of limitations, filing procedures, and appeals process.   .   .   .   And

  prisoners may retain attorneys for assistance with the process.” Callahan, 965 F. 3d at 524.

  For situations determined to “threaten[] the inmate’s immediate health or welfare,” the

 warden must respond to a grievance within three days. 28 C.F.R.           § 542.18. And by
  adding an administrative exhaustion requirement to the PLRA, see § I 997e(a), Congress


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  has incorporated the ARP into its overall scheme for resolving disputes in the prison

  setting.

         The Fourth Circuit and other courts have thus cited the ARP as an alternative

  process that—together with the option of seeking injunctive relief in court—counsels

  against creating a Bivens remedy for claims related to prison housing and other prison

  matters. See, e.g., Earle, 990F.3d at 780; Mack v. Yost, 968 F.3d 311, 321 (3d Cir.

  2020); Callahan, 965 F.3d at 524; Vega v. United States, 881 F.3d 1146, 1154(9th Cir.

  2018). While the ARP does not “include a money damages remedy” or “redress

  constitutional violations,” Tun-Cos, 922 F.3d at 526—27, “the relevant question ‘is not what

  remedy the court should provide for a wrong that would otherwise go unredressed’ but

  instead ‘whether an elaborate remedial system.       .   .   should be augmented by the creation

  of a new judicial remedy.” Id. at 527 (quoting Bush v. Lucas, 462          u.s. 367, 388 (1983)).
  The ARP is the congressionally recognized means “through which allegedly

  unconstitutional actions and policies can be brought to the attention of the BOP and

  prevented from recurring.” See Corr. Servs. Corp. v. Malesko, 534             u.s. 61, 74 (2001).
  Here, although the complaint is silent on the issue, Bulger had the option of filing an

  administrative grievance or seeking an injunction while his transfer to       us~ Hazelton was
  pending. Additionally, although Bulger’s death means he can no longer utilize the ARP or

  seek injunctive relief, it is the presence of that process and its availability in the context of

  his claims that counsels hesitation, not the possibility of relief for him now.




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         The Federal Tort Claims Act (FTCA) provides another alternative process by which

  inmates can remedy past harm related to prison housing by seeking damages from the

  United States. In fact, plaintiff asserts an FTCA claim in this lawsuit. Indeed, a negligence

  claim under the FTCA will often provide an inmate’s best option to recover damages.

  While Bivens found that the interests protected by “state laws regulating trespass and the

  invasion of privacy” were “inconsistent or even hostile” to the Fourth Amendment’s

  protections, 403 U.S. at 394, the Court explained in Malesko that “such logic does not

  apply” when a plaintiff can assert negligence in lieu of an Eighth Amendment claim, 534

  U.S. at 73—74.     In fact, “the heightened ‘deliberate indifference’ standard of Eighth

  Amendment liability.   .   .   would make it considerably more difficult for [a plaintiff] to prevail

  than on a theory of ordinary negligence.” Id. at 73 (internal citation omitted). Between the

  ARP, injunctions, and the FTCA, inmates have multiple alternative processes to protect

  their interest in safe housing.

         A final special factor in this case is the substantial burden that would be placed on

  government operations if the Court were to authorize a new category of prison litigation.

  See Abbasi, 137 S.Ct. at 1858. Indeed, litigation is already so pervasive in the prison

  context that Congress has sought to curtail it through the PLRA. Other courts have refused

  to create new categories of prison litigation in light of the burdens they could create. In

  Earle, for example, the Fourth Circuit declined to authorize an inmate’s Bivens claim that

  officials retaliated against him by placing him in the SHU, in part because doing so “would

 work a significant intrusion into an area of prison management that demands quick

  response and flexibility.” 990 F.3d at 781; see also Callahan, 965 F.3d at 524 (recognizing



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 that “[p}rison-based claims.      .   .   present a risk of interference with prison administration[,J”

 which counsels in favor of judicial restraint in creating a new Bivens remedy).

        BOP currently houses 155,675 inmates, see Fed. Bureau of Prisons, About Our

 Agency, https://www.bop.gov/about/agency/ (last visited October 20, 2021), and operates

  122 institutions nationwide, see Federal Bureau of Prisons, About Our Facilities,

 https://www. bop.gov/aboutlfacilities/federal_prisons.jsp (last visited October 20, 2021).

 The agency carries out a massive number of prisoner transfers each year and relocates

 prisoners within facilities even more often. The approval of a Bivens remedy in this case

 could spark new litigation for each of these housing decisions that would burden individual

 officials and drain government resources. This new litigation would likely be frequent,

 protracted, and expansive. To state a claim for failure to protect, a plaintiff must allege the

 existence or risk of a “serious or significant physical or emotional injury” and that the

 defendant was “deliberate[ly] indifferen[t] to inmate health or safety”—i.e., that they “had

 actual knowledge of an excessive risk.” Raynorv. Pugh, 817 F.3d 123, 127—28 (4th Cir.

 2016). Subjective state of mind is notoriously “easy to allege and hard to disprove,”

 Nieves v. Bartlett, 139 S. Ct. 1715, 1725 (2019) (quoting Crawford-El v~ Britton, 523

 U.S. 574, 585 (1998)), and therefore “threaten[s] to set off ‘broad-ranging discovery’ in

 which ‘there often is no clear end to the relevant evidence.” Id. (quoting Harlow v.

 Fitzgerald, 457 U.S. 800, 817 (1982)); see also Annapparedcly, 996 F.3d at 134

 (declining to create Bivens claim that would “invite a wide-ranging inquiry into the evidence

 available to investigators, prosecutors, and the grand jury” (quoting Farah V. Weyker~ 926

 F.3d 492, 500   (8th   Cir. 2019))). Inmates can also sue a wide range of officials, even if they


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  are only tangentially related to the alleged incident, as plaintiff has done here. See

  Schwarz v. Meinberg, 761 F.App’x 732, 735(9th Cir. 2019) (acknowledging that extending

  Bivens remedies to “claims against regional and national BOP officials” would undermine

  Bivens’ deterrence purpose). Consequently, recognizing a new Bivens claim in this

  context, and particularly as plaintiff has structured his claim, would be burdensome to the

  government and individual employees.

         Based upon the foregoing, this Court is compelled to find that no Bivens remedy

  exists for plaintiff’s claims against the Individual Defendants. Counts I and II of the second

  amended complaint will be dismissed.

                                               Plaintiff’s FTCA Claims

         As noted above, plaintiff alleges that two federal inmates attacked and killed his 89

 year-old uncle              —   James “Whitey” Bulger (“Decedent”)    —   shortly after he arrived at USP

  Hazelton, in October 2018, and that the murder was both predictable and avoidable. He

 argues that Decedent                  —   as a “notorious South Boston mobster,” one of the “most

  high-profile   .   .   .   federal prisoners in the history of the BOP,” and an accused informant,

 pedophile, and “killer of women”               —   had a target on his back, and that BOP officials and

 employees failed to protect him, and exposed him to an “inordinate risk of harm,” when

 they transferred him to USP Hazelton and placed him in general population. Plaintiff also

 claims that, in exposing Decedent to that risk, the United States was negligent, and should

 be held liable for Decedent’s injuries under the Federal Tort Claims Act, 28 U.S.C.                   §~
  1346(b), 2674 (“FTCA”).




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        In its motion, the Government argues this Court lacks subject matter jurisdiction

  because plaintiff’s claims are barred by sovereign immunity. Although the FTCA operates

 as a general waiver to sovereign immunity, the Government argues that this case falls

 within “the discretionary function exception” to the FTCA, which is one of several types of

 claims in which immunity remains. See Dolin v. U.S. Postal Service, 546 U.S. 481, 485

 (2006) (“The FTCA qualifies its waiver of sovereign immunity for certain categories of

 claims (13 in all).      If one of the exceptions applies, the bar of sovereign immunity

 remains.”). The discretionary function exception is found in 28 U.S.C.       § 2680(a) and
 provides that immunity is not waived for:

        [a]ny claim based upon an act or omission of an employee of the

        Government, exercising due care, in the execution of a statute or regulation,

        whether or not such statute or regulation be valid, or based upon the

        exercise or performance or the failure to exercise or perform a discretionary

        function or duty on the part of a federal agency or an employee of the

        Government, whether or not the discretion involved be abused.

 28 U.S.C.   § 2680(a).
        The “discretionary function” exception “insulates the United States from liability for

 its agents’ performance of duties involving discretionary decisions.” Williams v. United

 States, 50 F.3d 299, 308 (4th Cir. 1995); see also 28 U.S.C.   § 2680(a); Pieperv. United
 States, 713 F.App’x 137, 139 (4th Cir. 2017) (the discretionary function exception is

 designed to protect “government policy decisions from lawsuits”); DeOrio v. United States,

 2021 WL 3856207, at*2 (D.S.C. Aug. 30, 2021) (explaining that the discretionary function


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  exception applies even if the government was negligent or the employee abused his/her

  discretion). See also Hager v. United States, 2020 WL 2544421 (S.D. W.Va. May 19,

  2020) (Chambers, J.).

         “The Supreme Court has explained that this exception ‘marks the boundary between

  Congress’ willingness to impose tort liability upon the United States and its desire to protect

  certain governmental activities from exposure to suit by private individuals.’ United States

  v. yang Airlines, 467 U.S. 797, 808 (1984). Although the precise contours of the

  exception are impossible to define, the Supreme Court made clear ‘it is the nature of the

  conduct, rather than the status of the actor, that governs whether the discretionary function

  exception applies in a given case.’ Id. at 813. In this regard, a court must consider

  whether the acts at issue ‘are of the nature and quality that Congress intended to shield

  from tort liability.’ Id.” Hager v. United States, 2020 WL 2544421, at *2.

         The purpose of the exception, as the Supreme Court of the United States has

  explained, is to “prevent judicial ‘second-guessing’ of legislative and administrative

  decisions grounded in social, economic, and political policy through the medium of an

  action in tort.” Crawfordv. United States, 2019 WL 2366017, at *3 (N.D. W.Va. June 4,

  2019) (Kleeh, J.) (citing United States v. S~A. Empresa de Viacao Aerea Rio Grandense

  (Varig Airlines), 467 U.S. 797, 814 (1984)).

         In any civil action, the plaintiff bears the burden of establishing subject matter

 jurisdiction. See McNutt v. General Motors Acceptance Corp., 298 U.S. 178, 179

  (1936); Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982). In the specific context of

  FTCA claims    —   like this one   —   that means the plaintiff must “prov[e] that a waiver of


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  sovereign immunity exists and that the discretionary function exception.          .   .   does not apply

  to the Government’s conduct.” Crawford v. United States, 2019 WL 2366017, at *5

  (N.D. W.Va. June 4, 2019) (Kleeh, J.). See also, Welch v. United States, 409 F.3d 646,

  650—51 (4th Cir. 2005).

         When a defendant challenges jurisdiction       —   through a Rule 12(b)(1) motion to

  dismiss   —   the Court may consider evidence outside the four corners of the complaint, and

  “no presumptive truthfulness attaches to the plaintiff’s allegations.” Crawford, 2021 WL

  2366017, at *2; LaRosa v. Pecora, 650 F.Supp.2d 507, 510 (N.D. W.Va. 2009) (Stamp,

  J.) (“Because the court’s very power to hear the case is at issue.. the trial court is free
                                                                                .




  to weigh the evidence to determine the existence of jurisdiction.”) (Stamp, J.);

  Richland-Lexington Airport Dist. v. Atlas Properties, 854 F.Supp. 400, 407 (D.S.C.

  1994) (Traxler, J.) (a Rule 12(b)(1) motion to dismiss does not convert into a Rule 56(a)

  motion for summary judgment simply because the court considers exhibits outside the

  pleadings).

         In United States v. Gaubert, 499 U.S. 315 (1991), the Supreme Court further

  explained that, when discretion is authorized by “governmental policy, as expressed or

  implied by statute, regulation, or agency guidelines,     .   .   .   it must be presumed that the

  agent’s acts are grounded in policy when exercising that discretion.” 499 U.S. at 324.

  When challenged by a motion to dismiss, a complaint must contain “facts which would

  support a finding that the challenged actions are not the kind of conduct that can be said

  to be grounded in the policy of the regulatory regime.” Hager v. United States, 2020 WL

  2544421, at *2 (S.D. W.Va. May 19, 2020).


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         “In deciding whether the discretionary function test applies, the Supreme Court has

  developed a two-tier analysis. First, a court must determine ‘whether the action is a matter

  of choice for the acting employee.’ Berkovitzv. United States, 486 U.S. 531, 536(1988).

  More precisely, the court should decide whether the employee’s conduct was prescribed

  by federal statute, regulation or policy. Id. There is no discretion when the employee is

  acting pursuant to a mandatory statute, regulation, or policy. However, if the challenged

  conduct is not mandated, the court must move to the second part of the analysis and ask

 whether the action ‘in an objective, or general sense’ is something that would be expected

 to be inherently based on public policy considerations. Baum v. United States, 986 F.2d

 716,720—21(4th Cir. 1993). A governmental actor’s negligence ‘is largely irrelevant to the

 discretionary function inquiry.’ Id. at 722 n.2.” Hager, 2020 WL 2544421, at *2.

         In evaluating jurisdiction, “the Court must ‘strictly construe[]’ the FTCA and resolve

  ‘all ambiguities   ...   in favor of the sovereign.’ Robb v. United States, 80 F.3d 884, 887 (4th

  Cir.1996).” Newbrough v. Piedmont Reg’I JailAuth., 2012 WL 169988, at *2 (E.D. Va.

 Jan. 19, 2012) (Hudson, J.).

         In Rich v. United States, the Fourth Circuit dealt with a similar issue:

         The BOP is required to provide for the “protection,” “safekeeping,” and “care”

         of “all persons charged with or convicted of offenses against the United

         States.” 18 U.S.C. § 4042(a)(2), (3). Under the statute’s broad directives, the

         BOP retains discretion regarding the implementation of those mandates.

         Cohen v. United States, 151 F.3d 1338, 1342 (11th Cir. 1998). This




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        discretion is evident in the regulations regarding the proper handling and

        review of the Central Inmate Monitoring (CIM) files.

                The CIM system is the mechanism by which the Bureau of Prisons

        monitors and controls the transfer, temporary release, and community

        activities of certain inmates who present special needs for management,

        including the need to separate certain inmates from others based on their

        past behavior. See 28 C.F.R.   § 524.70—76. Although 28 C.F.R. § 524.72(d)
        provides that inmates “may require separation from a specific disruptive

       group [such as a prison gang]” (emphasis added), nothing in this regulation

        requires that any specific action be taken by the various prison officials.

        Instead, prison officials must consider several factors and exercise

        independent judgment in determining whether inmates may require

       separation. See 28 C.F.R.     § 524.72(f). Given this general language in the
        regulations, we conclude that prison officials exercise broad discretion in this

        regard and, thus, that the first prong of the discretionary function exception

        is satisfied.

               We turn to consider the second element of the discretionary function

       exception, namely, whether considerations of public policy are implicated in

       the discretion given to prison officials in their decisions about the separation

       of prisoners. See Gaubert, 499      u.s. at 322—23.   Although this is an issue

       of first impression in this Court, other federal appellate courts have held that

       prisoner placement and the handling of threats posed by inmates against



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        one another are “part and parcel of the inherently policy-laden endeavor of

        maintaining order and preserving security within our nation’s prisons.”

        Cohen, 151 F.3d at 1344; see also Alfrey v. United States, 276 F.3d 557,

        563—65 (9th Cir .2002); Calderon v. United States, 123 F.3d 947, 951 (7th

        Cir. 1997). Factors such as available resources, proper classification of

        inmates, and appropriate security levels are “inherently grounded in social,

        political, and economic policy.” Dykstra v. U.S. Bureau of Prisons, 140

        F.3d 791, 796 (8th Cir. 1998); cf. Bell v. Wolfish, 441 U.S. 520, 547—48

        (1979) (“Prison administrators   ...   should be accorded wide-ranging deference

        in the adoption and execution of policies and practices that in their judgment

        are needed to preserve internal order and discipline and to maintain

        institutional security.”).

                We agree with the reasoning of our sister circuits. Prison officials are

        afforded discretion in determining where to place inmates and whether to

        keep certain individuals or gangs separated from one another. Because

        these    decisions     invoke   several        policy   considerations   for   prison

        administrators, they are precisely the kind of determinations that the

        discretionary function exception is intended to protect. We therefore hold

        that the discretionary function exception shields the prison officials from

        liability with respect to whether they should have separated Rich from his

        attackers.

  Rich v. United States, 811 F.3d 140, 145—46 (4th Cir. 2015).



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        “The Fourth Circuit affirmed as to the decision not to separate Rich from his

 attackers, finding that the discretionary function exception applied because both prongs

 of the test were met: it involved judgment or choice, and it was a matter of public policy.

 Id. at 146 (writing that even assuming his allegations of targeting by the white supremacist

 group were true, ‘the discretionary function exception still would apply to the decisions of

 the officials regarding prisoner placement, ultimately depriving us of jurisdiction’

 (emphasis added)).” Crawford v. United States, 2019 WL 2366017, at *5 (N.D. W.Va.

 June 4, 2019) (Kleeh, J.).

        When a federal prisoner sues under the FTCA for injuries caused by a fellow

 inmate, this court and others have uniformly held the action to be barred by the

 discretionary function exception. In addition to the cases referenced by the Fourth Circuit

 in Rich, see, e.g., Usryv. United States, 2013 WL 1196650(N.D. W.Va. Mar. 25, 2013)

 (Stamp, J.), aff’d, Usryv. United States, 545 F.App’x 265 (4th Cir. 2013); Donaldson v.

 United States, 281 F.App’x 75, 76—78 (3rd Cir. 2008) (upholding dismissal of an FTCA

 claim that federal prison employees failed to protect plaintiff from assault by a fellow

 prisoner on a finding that the claim was barred by the discretionary function exception);

 Buchanan v. United States, 915 F.2d 969 (5th Cir.1990) (discretionary function exception

 applied to FTCA claim for damages by prisoners held hostage during a prison uprising);

  Graham v. United States, 2002 WL 188573 (ED. Pa. Feb. 5. 2002); Boles v. United

 States, 2021 U.S. Dist. LEXIS 23983, at*16(N.D. W. Va. Feb. 9,2021); Crawford, supra;

  Westv. United States, 2018 U.S. Dist. LEXIS 116223, at*32_33; Park v. United States,




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  2016 U.S. WL 5793722 (N.D. W.Va. Oct. 4, 2016) (Bailey, J.); Little, supra; Carpenterv.

  Bragg, 2015 WL 13734632 (D.S.C. Nov. 30, 2015) (Gergel, M.J.).

         Three recent cases from this District are instructive. In Little v~ United States,

  2014 WL4102377(N.D. W.Va. Aug. 14,2914) (Stamp, J.), the United States District Court

 for the Northern District of West Virginia examined an FTCA case involving

  prisoner-on-prisoner violence. The plaintiff, Michael Little (“Little”), was convicted of

  murder and incarcerated at USP Hazelton. Within 24 hours, he was attacked in his cell

  block by the brother of his murder victim. Little brought an FTCA action against the

  Government, arguing that the staff improperly classified him; that the staff allowed him to

  be in a unit with family members of his victim; and that the prison staff failed to properly

 screen other inmates for weapons.

         The Government argued that the improper classification and the failure to protect

 claims should be dismissed under the discretionary function exception to the FTCA. The

  magistrate judge, upon referral of the motion to dismiss, found that the classification of an

  inmate is a discretionary function of the BOP and that Little had not shown that a “family

 tree” search must be conducted before classification; that the placement of inmates in the

 general population is a discretionary function of Hazelton staff; and that Little had not

 shown that mandatory directives were violated by staff or that a BOP employee made a

 discretionary judgment not grounded in the policy of the BOP. The district court adopted

 the magistrate judge’s report and recommendation and provided the following guidance:

         This Court and numerous other courts have held that a federal prisoner’s

         claim under the FTCA for injuries caused by a fellow inmate are uniformly



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          held to be barred by the discretionary function exception. Donaldson v.

          United States, 281 F.App’x 75, 76—78 (3d Cir. 2008) (upholding dismissal

         of FTCA claim that federal prison employees failed to protect plaintiff from

         assault by a fellow prisoner on a finding that the claim was barred by the

         discretionary function exception); Calderon, 123 F.3d at 948—49 (same);

         Buchanan v. United States, 915 F.2d 969 (5th Cir. 1990) (discretionary

         function exception applied to FTCA claim for damages by prisoners held

          hostage by other inmates during a prison uprising); Usry, 2013 WL 1196650

         at *8.

  Id. at *7

          In Evans v. United States, 2016 WL 4581339 (N.D. W.Va. Sept. 2, 2016) (Groh,

  C.J.), the plaintiff, Michael Shawn Evans (“Evans”), brought suit under the FTCA after

  another inmate stabbed him with screwdriver at FCI Gilmer in Glenville, West Virginia.

  Evans alleged that the prison was negligent in failing to protect him from his attacker.

  When the Government moved to dismiss, the Court found, first, that because “there is no

  federal statute, regulation or policy specifically prescribing a course of action for BOP

  employees to follow in regard to contraband weapons,” the first prong of the discretionary

  function exception test (judgment/choice) was satisfied. Second, the court found that the

  second prong (public policy) was satisfied: “because the BOP is given discretion in

  exercising control over contraband shanks, it ‘must be presumed’ that its acts in this area

  are grounded in public policy.” The court again noted that “courts have consistently found

  that prisoner suits alleging injury by other inmates are barred by the discretionary function


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 exception.” The Court found, as it did in Little, that the discretionary function exception

 applied and, therefore, that it lacked subject matterjurisdiction. The Fourth Circuit affirmed

 the decision and denied a rehearing en banc. Evans v. United States, 671 F.App’x 186

 (4th Cir. 2016). The Supreme Court then denied a petition for writ of certiorari. Evans v.

 United States, 138 S. Ct. 189 (2017).

        In Crawford v. United States, 2019 WL 2366017 (N.D. W.Va. June 4, 2019)

 (Kleeh, J.), the plaintiff as Administratrix of her son’s estate, filed an action underthe FTCA

 seeking damages for her son’s death on the theory that the BOP failed to maintain USP

 Hazelton in a reasonable safe manner, leading to her sons death. On March 6, 2015,

 another inmate, the identity of whom is unknown to plaintiff, used a shiv to slice Mr.

 Crawford’s throat and kill him. Plaintiff alleges that the Government owed a duty of care

 to all inmates and that the duty included ensuring that contraband, such as a shiv, was not

 created or carried on the grounds by inmates. As such, the Government breached its duty

 when it allowed another inmate to create and/or possess a shiv, which was then used to

 kill Mr. Crawford.

        The Court found that the correctional officers’ conductt here was discretionary, and

 this finding was consistent with Little, Evans, and Rich. Because the conduct at issue

 here was discretionary, the Court has no subject matter jurisdiction over plaintiff’s claims.

 Crawford, 2019 WL 2366017, at *7

        The BOP must provide for the protection, safekeeping, and care of inmates, but this

 does not guarantee a risk-free environment. Decisions about how to safeguard prisoners

 are generally discretionary. Judge Stamp, Judge Groh, and Judge Kleeh all found, at the


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  motion to dismiss level, that FTCA suits against the Government stemming from

  prisoner-on-prisoner violence are barred by the discretionary function exception. Notably,

  Judge Groh’s decision in Evans came after the Fourth Circuit’s decision in Rich.

         This Court agrees with the above myriad of cases that an action based upon an

  alleged violation of a duty to separate or duty to protect are barred by the discretionary

  function exception to the FTCA.

         Plaintiff seeks leave to conduct discovery on the issue. This Court will follow the

  lead of the Fourth Circuit in Rich, which denied discovery on the issue of separation,

  stating “[w]e also conclude that Rich is not entitled to discovery on this issue. Even

  accepting all of Rich’s allegations regarding his history with the Aryan Brotherhood as true,

  the discretionary function exception still would apply to the decisions of the officials

  regarding prisoner placement, ultimately depriving us of jurisdiction. And because no facts

  that Rich could uncover in discovery would establish jurisdiction, we hold that the district

  court did not abuse its discretion in refusing Rich discovery regarding the officials’ decision

  to not separate Rich from his attackers.” Rich v. United States, 811 F.3d 140, 146 (4th

  Cir. 2015) (citing Durden v. United States, 736 F.3d at 307—08(4th Cir. 2013)). See also

  Crawford, 2019 WL 2366017, at *7 (“Exposing the Government to extensive rounds of

  discovery on the merits would undermine the discretionary function exception and

  introduce the very litigation pressures that Congress meant to avoid when it developed the

  exception. Mitchell v. Forsyth, 472 U.S. 511, 525—27 (1985)”).

         For the reasons stated above, the United States of America’s Motion to Dismiss

  [Doc. 48] is GRANTED, the Individual Defendants’ Motion to Dismiss Plaintiff’s Claims


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  Against Them [Doc. 49] is GRANTED, and Defendants’ Renewed Motion to Stay

  Discovery [Doc. 51] is DENIED AS MOOT. The above-styled case is DISMISSED WITH

  PREJUDICE and the Clerk is ordered to STRIKE the case from the active docket of this

  Court.

           It is so ORDERED.

           The Clerk is directed to transmit copies of this Order to any counsel of record herein.

           DATED: Januaryl      7 ,2022.


                                               JOHN PRESTON BAILEY
                                               UNITED STATES DISTRICT JUDGE




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